Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 1 of 27 Page ID
                                    #:1
Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 2 of 27 Page ID
                                    #:2
Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 3 of 27 Page ID
                                    #:3
Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 4 of 27 Page ID
                                    #:4
Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 5 of 27 Page ID
                                    #:5
Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 6 of 27 Page ID
                                    #:6
Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 7 of 27 Page ID
                                    #:7
Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 8 of 27 Page ID
                                    #:8
Case 2:13-cv-05240-GAF-VBK   Document 1   Filed 07/19/13   Page 9 of 27 Page ID
                                    #:9
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 10 of 27 Page ID
                                    #:10
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 11 of 27 Page ID
                                    #:11
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 12 of 27 Page ID
                                    #:12
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 13 of 27 Page ID
                                    #:13
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 14 of 27 Page ID
                                    #:14
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 15 of 27 Page ID
                                    #:15
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 16 of 27 Page ID
                                    #:16
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 17 of 27 Page ID
                                    #:17
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 18 of 27 Page ID
                                    #:18
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 19 of 27 Page ID
                                    #:19
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 20 of 27 Page ID
                                    #:20
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 21 of 27 Page ID
                                    #:21
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 22 of 27 Page ID
                                    #:22
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 23 of 27 Page ID
                                    #:23
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 24 of 27 Page ID
                                    #:24
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 25 of 27 Page ID
                                    #:25
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 26 of 27 Page ID
                                    #:26
Case 2:13-cv-05240-GAF-VBK   Document 1 Filed 07/19/13   Page 27 of 27 Page ID
                                    #:27
